                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )      Case No. 1:16-cr-19-3
                                             )      Judge Mattice/Steger
JOSE ROBERTO NAVARRO                         )
CARDENAS                                     )

                                           ORDER

       On July 1, 2016, United States Magistrate Judge Christopher H. Steger filed a Report and

Recommendation recommending: (a) the Court accept Defendant’s plea of guilty to Count One of

the Indictment; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of

the Indictment; and (c) Defendant remain in custody pending sentencing in this matter (Doc. 52).

Neither party filed an objection within the allotted fourteen day period. After reviewing the

record, the Court agrees with Judge Steger’s Report and Recommendation. Accordingly, the

Court ACCEPTS and ADOPTS the Report and Recommendation pursuant to 28 U.S.C. §

636(b)(1). It is therefore

       ORDERED:

            1. Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

            2. Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of

               the Indictment; and

            3. Defendant SHALL REMAIN IN CUSTODY pending sentencing on October 17,

               2016, at 9:00 a.m.

       ENTER:

                                                          /s/ Harry S. Mattice, Jr._______
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE




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